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 6 Attorneys for Plaintiff
   United States of America
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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:11-CR-296 JAM
12                                Plaintiff,            STIPULATION AND ORDER TO MODIFY
                                                        BRIEFING SCHEDULE FOR DEFENDANT’S
13                         v.                           MOTION TO WITHDRAW GUILTY PLEA
14   CHRISTIAN PARADA-RENTERIA, ET AL.,                 DATE: March 14, 2017
                                                        TIME: 9:15 a.m.
15                               Defendants.            COURT: Hon. John A. Mendez
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant Christian

19 Parada-Renteria, by and through counsel Philip Cozens, hereby stipulate as follows:

20          1.      On January 9, 2017, the Court set a briefing schedule and hearing date for defendant

21 Christian Parada-Renteria’s Motion to Withdraw Guilty Plea. ECF No. 509.

22          2.     The parties request that the Court vacate the current briefing schedule and hearing date

23 for Parada’s motion and enter the following amended schedule:

24                 a)      Government’s response to motion to be filed on or before February 24, 2017

25                 b)      Defendant Parada’s reply to be filed on or before March 10, 2017

26                 c)      Motion hearing to be held on March 21, 2017 at 9:15 a.m.

27          IT IS SO STIPULATED.

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      STIPULATION AND [PROPOSED] ORDER TO MODIFY        1
      BRIEFING SCHEDULE
              Case 2:11-cr-00296-JAM Document 523 Filed 02/14/17 Page 2 of 2


 1 Dated: February 12, 2017                                  PHILLIP A. TALBERT
                                                             United States Attorney
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 3                                                           /s/ BRIAN A. FOGERTY
                                                             BRIAN A. FOGERTY
 4                                                           Assistant United States Attorney
 5

 6 Dated: February 12, 2017                                  /s/ PHILIP COZENS
                                                             PHILIP COZENS
 7
                                                             Counsel for Defendant
 8                                                           CHRISTIAN PARADA-
                                                             RENTERIA
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12                                                   ORDER

13          The Court, having considered the parties’ stipulation, and good cause appearing therefor,

14 VACATES the briefing schedule for the defendant’s motion to withdraw his guilty plea, and the hearing

15 regarding the motion, which is currently set for March 14, 2017. The Court adopts the briefing schedule

16 and hearing date and time set forth in the parties’ stipulation.

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18 Dated: 2/13/2017
                                                      /s/ John A. Mendez
19                                                    JOHN A. MENDEZ
                                                      UNITED STATES DISTRICT COURT JUDGE
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      STIPULATION AND [PROPOSED] ORDER TO MODIFY         2
      BRIEFING SCHEDULE
